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            EXHIBIT 24
     Case 3:19-cv-00410-EMC Document 387-28 Filed 03/31/22 Page 2 of 28
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                    IN THE UNITED STATES DISTRICT COURT
2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                           SAN FRANCISCO DIVISION
4
5       ASETEK DANMARK A/S,         )
                                    )
6            Plaintiff and          )
             Counter-Defendant,     )
7                                   )
        vs.                         ) Case No. 3:19-cv-00410-EMC
8                                   )
        COOLIT SYSTEMS, INC.,       )
9                                   )
             Defendant and          )
10           Counter-Claimant.      )
                                    )
11      COOLIT SYSTEMS USA INC.,    )
        COOLIT SYSTEMS ASIA PACIFIC )
12      LIMITED, COOLIT SYSTEMS     )
        (SHENZHEN) CO., LTD.,       )
13                                  )
             Defendants,            )
14                                  )
        COSAIR GAMING INC., and     )
15      CORSAIR MEMORY INC.,        )
                                    )
16           Defendants.            )
        ____________________________)
17
18                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
19                    DEPOSITION OF DAVID TUCKERMAN, Ph.D.
20                         MONDAY, DECEMBER 20, 2021
21
22
23      Reported Remotely and Stenographically by:
24      JANIS JENNINGS, CSR No. 3942, CLR, CCRR
25      Job No. 4997330

                                                                 Page 1

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6
7       REMOTE DEPOSITION OF DAVID TUCKERMAN, Ph.D., located
8       in Lake Stevens, Washington, taken on behalf of the
9       Defendants and Counter-Claimants CoolIT entities and
10      Corsair entities, beginning at 9:05 a.m., on Monday,
11      December 20, 2021, sworn remotely by Janis Jennings,
12      Certified Shorthand Reporter No. 3942, CLR, CCRR,
13      located in the City of Walnut Creek, County of
14      Contra Costa, State of California.
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1       REMOTE APPEARANCES:

2

3       For Plaintiff and Counter-Defendant Asetek Danmark

4       A/S:

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12      For Defendants and Counter-Claimant CoolIT entities and

13      Corsair entities:

14             COOLEY RLLP

15             BY:   REUBEN CHEN, ESQ.

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24                    SOSEH KEVORKIAN, Videographer

25

                                                                 Page 3

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1                                     I N D E X

2

3       WITNESS                                                           PAGE

4       DAVID TUCKERMAN, Ph.D.

5

6

7                   EXAMINATION BY MR. CHEN                                 10

8                   EXAMINATION BY MS. BHATTACHARYYA                       249

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1                              E X H I B I T S

2

3       EXHIBIT                                                           PAGE

4       Exhibit 259       Expert Report of Dr. David B.                     39

5                         Tuckerman Regarding Invalidity

6                         of U.S. Patent Nos. 8,746,330;

7                         9,603,284; and 10,274,266

8       Exhibit 259-A     Exhibit A; Invalidity Claim Chart                 70

9                         for U.S. Patent 8,746,330

10      Exhibit 259-B     Exhibit B; Invalidity Claim Chart                 70

11                        for U.S. Patent 9,603,284

12      Exhibit 259-C     Exhibit C; Invalidity Claim Chart                 70

13                        for U.S. Patent 10,274,266

14      Exhibit 259-D     Exhibit D; Curriculum Vitae of                    70

15                        David B. Tuckerman

16      Exhibit 259-E     Exhibit E; Materials Considered in                71

17                        Preparation of Invalidity Expert

18                        Report

19      Exhibit 259-F     Exhibit F; Infringement                           71

20                        Contentions photographs

21      Exhibit 260       Ph.D. Thesis by David Tuckerman                   72

22                        Heat-Transfer Microstructures for

23                        Integrated Circuits

24

25

                                                                 Page 5

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1                               E X H I B I T S

2

3       EXHIBIT                                                           PAGE

4       Exhibit 261     White Paper "High Flux Heat Removal                 94

5                       with Microchannels - A Roadmap of

6                       Challenges and Opportunities";

7                       ASE-clt00044556 - 44565

8       Exhibit 262     United States Patent No. 5,099,311;                119

9                       ASE_CLT00044406 - 444419

10      Exhibit 263     United States Patent No. 8,746,330                  98

11      Exhibit 264     United States Patent No. 9,603,284                  99

12      Exhibit 265     United States Patent No. 10,274,266                 99

13      Exhibit 266     Rebuttal Expert Report of Dr. David                109

14                      Tuckerman Regarding Non-Infringement

15                      of U.S. Patent Nos. 8,746,330;

16                      9,603,284; and 10,274,266

17      Exhibit 267     User Manual WaterChill CPU Cooler                  126

18                      Antarctica;

19                      ASE-CLT00045006 - 45014

20      Exhibit 268     ExtremeOverclocking.com review                     129

21                      Asetek WaterChill Antarctica Water

22                      Cooling Kit; ASE-CLT00044691 - 44701

23      Exhibit 269     Guru3D.com review Asetek WaterChill                130

24                      Watercooling;

25                      ASE-CLT00044702 - 44726

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1                               E X H I B I T S

2

3       EXHIBIT                                                           PAGE

4       Exhibit 270     TechwareLabs review WaterChill                     133

5                       by Asetek;

6                       ASE-CLT00044729 - 44731

7       Exhibit 271     Excel spreadsheet Antarctica                       180

8                       Sales Data; ASE-CLT00045045

9       Exhibit 272     United States Patent No. 7,259,965;                183

10                      ASE-CLT00044420 - 44443

11      Exhibit 273     United States Patent No. 5,998,240;                231

12                      ASE-CLT00044523 - 44537

13      Exhibit 274     United States Patent Application                   239

14                      Publication 2007/0125526;

15                      ASE-CLT00044671 - 44689

16      Exhibit 275     Asetek "Proceskontrol" document                    251

17                      dated 10-13-04

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1               MONDAY, DECEMBER 20, 2021; 9:05 A.M.

2

3                                                                          09:05

4               THE VIDEOGRAPHER:        Good morning.        We are       09:05

5    going on the record at 9:05 a.m. on December 20,                      09:05

6    2021.    This is media unit 1 of the video recorded                   09:05

7    deposition of Dr. David Tuckerman taken by counsel                    09:05

8    in the matter of Asetek Danmark A/S versus CoolIT                     09:06

9    Systems Incorporated and all related cross actions                    09:06

10   filed in the U.S. District Court for the Northern                     09:06

11   District of California, case number                                   09:06

12   3:19-cv-00410-EMC.                                                    09:06

13              This deposition is being held by Veritext                  09:06

14   Virtual via Zoom web conferencing.              My name is Soseh      09:06

15   Kevorkian from the firm Veritext and I'm the                          09:06

16   videographer.      Our court reporter is Janis Jennings               09:06

17   also from the firm Veritext.                                          09:06

18              At this time will counsel and all present                  09:06

19   please identify themselves for the record.                            09:06

20              MR. CHEN:     Absolutely.        Arpita, would you         09:06

21   like to start.                                                        09:06

22              MS. BHATTACHARYYA:         Sure.     Arpita                09:06

23   Bhattacharyya from the Finnegan Law Firm here with                    09:06

24   Dr. David Tuckerman.                                                  09:07

25              MR. CHEN:     And this is Reuben Chen from --              09:07

                                                                       Page 8

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1                MS. BHATTACHARYYA:         And -- and -- sorry.      Go 09:07

2     ahead, Rueben.     I wanted to add that I'm here on                09:07

3     behalf of the plaintiff Asetek Danmark A/S.                        09:07

4                MR. CHEN:     Thank you.       This is Rueben Chen      09:07

5     from Cooley LLP on behalf of CoolIT as well as                     09:07

6     Corsair, and with me is my colleague Dustin Knight.                09:07

7                THE VIDEOGRAPHER:        Thank you.                     09:07

8                And I just have a quick question for the                09:07

9     witness.    Your screen went dark during the read-on.              09:07

10    Is there any way to brighten it a little bit or?                   09:07

11               THE WITNESS:     You know, I don't know why             09:07

12    it's doing that.       Let me see if I can kill lights             09:07

13    behind me because it may be the -- the                             09:07

14    auto-contrast.     I wish -- I wish there was a way to             09:07

15    manually adjust contrast.         Oh, this is much better.         09:07

16               THE VIDEOGRAPHER:        Okay.      Great.   Thank you. 09:07

17    Yeah, that's better.       Thanks.                                 09:07

18               Janis, whenever you're ready.                           09:07

19

20                      DAVID TUCKERMAN, Ph.D.,

21               the witness herein, was sworn and

22               testified as follows:

23                                                                       09:08

24               DEPOSITION REPORTER:          Thank you.                09:08

25               Please begin, Counsel.                                  09:08

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1                MR. CHEN:    Thank you, Miss Reporter.                  09:08

2

3                               EXAMINATION                              09:08

4     BY MR. CHEN:                                                       09:08

5          Q.    Good morning, Dr. Tuckerman.             How are you?   09:08

6          A.    Fine, thank you.                                        09:08

7          Q.    Great.    Can you please state your full name           09:08

8     for the record.                                                    09:08

9          A.    David Bazeley Tuckerman.           Middle initials -- 09:08

10    middle name is spelled B-a-z-e-l-e-y.                              09:08

11         Q.    Great.    Thank you.                                    09:08

12         A.    Last name as it sounds, T-u-c-k-e-r-m-a-n.              09:08

13         Q.    Thank you.    And can you please provide your           09:08

14    home address, please.                                              09:08

15         A.    12724 128th Avenue Northeast, Lake Stevens,             09:08

16    S-t-e-v-e-n-s, Washington State            98258.                  09:09

17         Q.    Okay.    Thank you.     And, Dr. Tuckerman, have        09:09

18    you had your deposition taken before?                              09:09

19         A.    A long time ago.                                        09:09

20         Q.    Okay.    And how many times have you been               09:09

21    involved in a deposition?                                          09:09

22         A.    Three prior times.                                      09:09

23         Q.    Three prior times.                                      09:09

24               And were those three prior times all with               09:09

25    respect to a patent case?                                          09:09

                                                                   Page 10

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1                Let me introduce into the record Exhibit No. 13:25

2     267, which is Bates number ASE-CLT00045006 --                       13:26

3                THE WITNESS:         Okay.

4                MR. CHEN:      -- to 45014.                              13:26

5                (Exhibit 267 marked for identification.)                 13:26

6     BY MR. CHEN:                                                        13:26

7          Q.    And you cite to this document in paragraph               13:26

8     55 of your report; correct?                                         13:26

9          A.    Okay.                                                    13:26

10         Q.    Correct?                                                 13:26

11         A.    ACT -- 45006, yes, I did.             Oh, wait a         13:26

12    minute, this is 45 -- oh, I see, the pages are                      13:27

13    sequential.       Yes.   Yes.                                       13:27

14         Q.    Okay.                                                    13:27

15         A.    Yes.

16         Q.    All right.      What is the publication date of          13:27

17    this document?                                                      13:27

18         A.    Version 4.0 says April 6, 2004.                          13:27

19         Q.    And is this version 4.0 or 4.1?                          13:27

20         A.    Well, I guess it would be version 4.1.                   13:27

21         Q.    Okay.     And what's the publication date for            13:27

22    version 4.1?                                                        13:27

23         A.    That's October 18, 2004.                                 13:27

24         Q.    Okay.     And can you please go to Figure 2 --           13:27

25         A.    Okay.                                                    13:27

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1            Q.      -- of the user manual, which is on Bates          13:27

2     No. ASE-CLT00045008.                                             13:28

3            A.      Yeah.                                             13:28

4            Q.      Which part would you describe as the fluid        13:28

5     heat exchanger in Figure 2?                                      13:28

6            A.      Well, it's a -- an integrated unit.       You     13:28

7     know, I mean, it's -- it collectively functions as               13:28

8     a -- as a fluid heat exchanger.                                  13:28

9            Q.      So what --

10           A.      You have to put all the parts together.           13:28

11           Q.      Okay.   So it's not -- it's not No. 1?            13:28

12           A.      I would say you'd have to assemble it for it 13:28

13    to be -- function as a fluid heat exchanger.                     13:29

14           Q.      Okay.   So there are multiple versions of         13:29

15    user manuals for Antarctica; correct?                            13:29

16           A.      I don't know that.       I only know that this    13:29

17    document shows that there was a version 4.0 and a                13:29

18    4.1.        That's all I know.                                   13:29

19           Q.      Okay.   So you wouldn't know how many             13:29

20    versions of user manuals there are; correct?                     13:29

21           A.      No, I have no idea.                               13:29

22           Q.      Okay.   Could you please go to paragraph 54       13:29

23    in your report.         And at paragraph 54, you state:          13:29

24                   "Asetek invented and sold the                     13:30

25                   Antarctica WaterChill CPU cooler in               13:30

                                                                Page 127

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1                the U.S. in 2004, prior to the                          13:30

2                August 9, 2007 priority date of the                     13:30

3                '330 patent."                                           13:30

4                Correct?                                                13:30

5          A.    That's what it says, yes.                               13:30

6          Q.    Okay.     And what did you rely on for your             13:30

7     understanding that the specific Antarctica device                  13:30

8     that you inspected in Palo Alto was publicly                       13:30

9     available before August of 2007?                                   13:30

10         A.    What I was shown was that they -- documents             13:30

11    showing that Antarctica was sold around 2004.                      13:30

12    The -- I mean, clearly the object I was shown was                  13:30

13    not sold because they still had it, so I couldn't                  13:31

14    comment on -- on that.                                             13:31

15         Q.    Do you know for a fact if the specific model 13:31

16    that you inspected was, in fact, sold prior to                     13:31

17    August 9, 2007?                                                    13:31

18               MS. BHATTACHARYYA:         Objection.     Calls for a   13:31

19    legal conclusion.                                                  13:31

20               THE WITNESS:     I can't say that I know that           13:31

21    for certain.       That would have to be a question for            13:31

22    Asetek, I guess.                                                   13:31

23               MR. CHEN:     Okay.    I'd like to introduce            13:31

24    Exhibit 268 into the record.           Exhibit 268 is a            13:31

25    document bearing Bates No. ASE-CLT00044691 to 44701.               13:32

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1                 (Exhibit 268 marked for identification.)                   13:32

2     BY MR. CHEN:                                                           13:32

3          Q.     Dr. Tuckerman, have you ever seen this                     13:32

4     document before?                                                       13:32

5          A.     It does not look familiar.                                 13:32

6          Q.     Okay.    I don't think you relied on it in                 13:32

7     your report.                                                           13:33

8          A.     Right.    And I wouldn't have seen it.             If it   13:33

9     was at all relevant, we would -- I would have                          13:33

10    included it, you know.                                                 13:33

11         Q.     So I'm going to go ahead and point you to a                13:33

12    sentence that's on ASE-CLT00044694.                  And it's the      13:33

13    first sentence that reads:                                             13:33

14                "The CPU blocks are where the                              13:33

15                WaterChill Antarctica kits really vary                     13:33

16                from the first generation water blocks."                   13:33

17                [As read.]

18                Do you see that?                                           13:33

19         A.     Yes.                                                       13:33

20         Q.     Were there multiple generations of                         13:33

21    WaterChill Antarctica?                                                 13:33

22         A.     I don't know.                                              13:33

23                MR. CHEN:    I'd like to introduce                         13:33

24    Exhibit 269, which is Bates numbered ASE-CLT00044702                   13:33

25    to 44726.                                                              13:34

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1                (Exhibit 269 marked for identification.)              13:34

2     BY MR. CHEN:                                                     13:34

3          Q.    And I'd like to point -- have you seen this           13:34

4     document before, Dr. Tuckerman?                                  13:34

5          A.    I don't believe -- I don't believe so.                13:34

6          Q.    Okay.   And could I direct your attention to          13:34

7     the page Bates numbered ASE-CLT00044702.                         13:34

8          A.    Oh, 702.    Okay.    It's up near the front.          13:35

9     All right.                                                       13:35

10         Q.    And are you there?                                    13:35

11         A.    I am there.                                           13:35

12         Q.    Okay.   Thank you.                                    13:35

13               Do you see the second to last paragraph that 13:35

14    reads:                                                           13:35

15               "The kit we received from Asetek is                   13:35

16               pretty much their best kit.              It's         13:35

17               called the K12AT-L30/220V/Dual                        13:35

18               Radiator Socket LGA755 kit, a                         13:35

19               CPU/VGA/Chipset kit.         We opted the             13:35

20               version with the thick 1/2" tubing                    13:35

21               for optimal flow.       Next to that the              13:35

22               kit has the heavy Hydor L30-II                        13:36

23               included, a pump that can push                        13:36

24               1200 liters of water per hour."                       13:36

25               Do you see that?                                      13:36

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1     all-in-one is a bit vague here.             In this case I           13:39

2     would use the language that they described it.                It     13:39

3     contains all these components.                                       13:39

4     BY MR. CHEN:                                                         13:39

5          Q.    And there were others besides Asetek that                 13:39

6     prior to Asetek's invention sold all-in-one with the                 13:39

7     coolers; correct?                                                    13:39

8                MS. BHATTACHARYYA:         Objection.       Outside the   13:39

9     scope of the report.                                                 13:39

10               THE WITNESS:     Yeah.      That's not a question I 13:39

11    researched.                                                          13:39

12               MR. CHEN:    Okay.     All right.         No problem.     13:39

13               Let me introduce the next exhibit, which is               13:39

14    Exhibit 270, and that is Bates numbered                              13:39

15    ASE-CLT00044729 to 44731.                                            13:39

16               (Exhibit 270 marked for identification.)                  13:40

17    BY MR. CHEN:                                                         13:40

18         Q.    Do you see that?                                          13:40

19         A.    I do.                                                     13:40

20         Q.    Okay.   And have you ever seen this document              13:40

21    before?                                                              13:40

22         A.    I don't believe so.                                       13:40

23         Q.    Okay.   Let me direct your attention back to              13:40

24    the user manual, which is Exhibit 267.                               13:40

25               You rely on this user manual for your                     13:40

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1     report; correct?                                                       13:40

2          A.    Yeah.    I mean, I cite it.                                 13:40

3          Q.    Right.    Okay.    Not a trick question.            All     13:41

4     right.                                                                 13:41

5                Would a person of ordinary skill in the art                 13:41

6     looking at the user manual consider that the device                    13:41

7     that's shown in the user manual to be the same                         13:41

8     device that you inspected in Palo Alto?                                13:41

9          A.    Well, it -- it differs in one respect for                   13:41

10    sure, and that is that the -- the location of the                      13:41

11    ports don't appear to be the same.              And so I don't         13:41

12    know if it's intended to be a schematic, you know,                     13:42

13    wherein the Y connection is implied.                  Let's see,       13:42

14    well, I mean, I guess it has to be.                  Yeah.             13:42

15               So it's a -- it has to be that the outlet                   13:42

16    shown there is -- is the output of the Y and they're                   13:42

17    just not, you know, showing that detail because it's                   13:42

18    kind of a vertical view.         Yeah.                                 13:42

19         Q.    Okay.    Do the Antarctica pictures and                     13:42

20    discussions in the user manual disclose each and                       13:42

21    every element of the asserted claims of the '330                       13:42

22    patent?                                                                13:42

23               MS. BHATTACHARYYA:         Objection.         Calls for a   13:42

24    legal conclusion.                                                      13:42

25               THE WITNESS:      Well, what I -- I don't think             13:43

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1     that's what I said.         I mean, I -- what I said was                 13:43

2     that I viewed those claims as obvious in view of                         13:43

3     Antarctica.                                                              13:43

4     BY MR. CHEN:                                                             13:43

5          Q.    Right.    Right.      Right.       And that -- well,          13:43

6     that's my question to you.            Let me rephrase, then.             13:43

7                Do the Antarctica pictures and discussions                    13:43

8     in the user manual render obvious each and every                         13:43

9     element of the asserted claims of the '330 patent?                       13:43

10               MS. BHATTACHARYYA:           Objection.       Calls for a     13:44

11    legal conclusion.      Mischaracterizes the record.                      13:44

12               THE WITNESS:       Just a moment.           I mean...    Let 13:44

13    me just refresh my memory on what I said.                  So can we     13:44

14    go to the claim -- the relevant claim chart?                             13:45

15    BY MR. CHEN:                                                             13:45

16         Q.    Yeah.    Actually, let's go to the patent --                  13:45

17    let's go to --

18         A.    Well, I'd like to go to the claim chart to                    13:45

19    answer this question.                                                    13:45

20         Q.    You're welcome to.           You're welcome to.         I'm   13:45

21    just trying to search -- you're welcome.                  You've got     13:45

22    the whole report in front of you, so I'm trying to                       13:45

23    short-circuit it.      You also have Exhibit 263 which                   13:45

24    is the '330 patent as well.                                              13:45

25         A.    Yeah.    Okay.     Let me just make sure I got

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1     based on not seeing the device.                                  13:47

2     BY MR. CHEN:                                                     13:47

3          Q.    Are you aware that Asetek has produced                13:47

4     videos of Antarctica in this case?                               13:47

5          A.    I was not aware of that.                              13:47

6          Q.    Okay.   So you haven't seen those videos;             13:47

7     correct?                                                         13:47

8          A.    That is correct.                                      13:47

9          Q.    Let's turn to paragraph 57 of your report.            13:47

10    Why don't you go ahead and read that paragraph and               13:47

11    let me know when you're finished.                                13:47

12         A.    Okay.   All right.                                    13:48

13         Q.    Okay.   You've had a chance to review                 13:48

14    paragraph 57; correct?                                           13:48

15         A.    Yeah, I have.                                         13:49

16         Q.    Okay.   And you state in paragraph 57 that            13:49

17    the space between adjacent fins is about 0.9 to 1                13:49

18    millimeter; correct?                                             13:49

19         A.    Yes.                                                  13:49

20         Q.    What evidence do you point to in your report 13:49

21    for this opinion?                                                13:49

22         A.    Well, okay.     So first there is Eriksen's           13:49

23    deposition; however, I didn't think that was                     13:49

24    sufficient to be something I was going to swear to,              13:49

25    so I wanted to inspect the device personally.            And I   13:49

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1     used like -- I used calipers to measure the fins at               13:49

2     the base which is where I felt the most relevant                  13:49

3     dimension was because the base of the fins is where               13:49

4     the most heat transfer occurs.                                    13:49

5                 As fins -- you go up in fin height, they              13:50

6     become less effective.         And so to me, the base was         13:50

7     the relevant dimension to measure it at.              And I got   13:50

8     readings, you know, between 9.9 and 1.0, so I was                 13:50

9     okay with that.                                                   13:50

10         Q.     Did you make those measurements prior to              13:50

11    submitting your report or after you submitted your                13:50

12    report?                                                           13:50

13         A.     I made them prior.                                    13:50

14         Q.     Okay.     Did you record those measurements           13:50

15    anywhere?                                                         13:50

16         A.     I did not, no.                                        13:50

17         Q.     And you don't include any evidence of those           13:50

18    measurements in your report; correct?                             13:50

19         A.     No.     I felt that the readings were close           13:50

20    enough that I didn't need to -- that combined with                13:50

21    the -- you know, Eriksen's testimony and my own                   13:50

22    measurements.        I did -- I will say that after I saw         13:51

23    the rebuttal report from Dr. Pokharna, I got                      13:51

24    concerned.        He measured the fins at the top; I had          13:51

25    measured them at the bottom.                                      13:51

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1                I would say that when you -- the                      13:51

2     measurement -- first of all, I would have expected               13:51

3     fins to be larger at the top, that is an inherent --             13:51

4     channel widths to be larger at the top.             That's an    13:51

5     inherent feature of machining.           And the technique       13:51

6     that Dr. Pokharna used to measure is subject to                  13:51

7     error if you, you know, apply excessive force to                 13:51

8     the -- you know, to it because the copper is very,               13:51

9     very soft.     And so the slightest little bit of force          13:51

10    will put an indentation in the copper and give you a             13:51

11    high reading.                                                    13:52

12               But, you know, I had the additional concern           13:52

13    that, you know, was there any further corroboration,             13:52

14    you know, besides my own measurements at the base.               13:52

15    And counsel provided me a picture of the machining               13:52

16    document for the Antarctica device, and it showed                13:52

17    them with -- it showed the blades that they say they             13:52

18    used with calipers measuring that blade.                         13:52

19               And they to got -- it was 0.93 millimeters            13:52

20    on the -- on the blade, because these were solid                 13:52

21    grooves.     And so -- and then the box on the -- that           13:52

22    was next to it that the blades was identified with a             13:52

23    legend that led me to believe that it was a blade                13:53

24    that was intended to give you a nominal 1-millimeter             13:53

25    cut.                                                             13:53

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1                And that made sense to me because you always 13:53

2     get a cut that's wider than your blade.             And so a         13:53

3     blade that is nominally designed to cut metal at 1                   13:53

4     millimeter might well be 0.93 millimeters wide.                So,   13:53

5     you know, I, you know, concluded that, okay, it was                  13:53

6     designed for nominally 1 millimeter and I got                        13:53

7     measurements at the base 0.91.           Dr. Pokharna got            13:53

8     higher measurements, I know that.                                    13:53

9                But, you know, I did say the space between                13:53

10    the adjacent pins is about a 0.9 to 1.0.             I didn't        13:53

11    say precisely.     I didn't take it out to the next                  13:54

12    decimal digit.     So that's all the information I have              13:54

13    on the microchannel spacing.                                         13:54

14         Q.    But none of the information that you're                   13:54

15    referring to is actually cited and included in your                  13:54

16    report; correct?      Other than Dr. -- excuse me,                   13:54

17    Mr. Eriksen's deposition testimony?                                  13:54

18         A.    Well, that's right.        Because I didn't -- at         13:54

19    the time I thought that was good enough.             You know,       13:54

20    I had his -- Eriksen's information and I had my own                  13:54

21    measurements at the base, and I didn't think there                   13:54

22    was going to be a dispute on the issue, so I didn't                  13:54

23    pursue it further.                                                   13:54

24         Q.    Did you see that Mr. Eriksen in his                       13:54

25    deposition said that 0.6 to 0.8 was his best guess?                  13:54

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1          A.    Well, yeah, I did see that.                             13:54

2          Q.    Uh-huh.     Did you speak with Mr. Eriksen              13:54

3     before you signed your expert report?                              13:54

4          A.    No.     I had never spoken with Mr. Eriksen.            13:54

5          Q.    Okay.                                                   13:54

6          A.    As I said, I wasn't relying on -- I wouldn't 13:54

7     have signed a report relying just on his say so.                   13:55

8     That's why I measured them myself.              And in point of    13:55

9     fact, they were larger than -- than his                            13:55

10    recollection.                                                      13:55

11         Q.    And to your knowledge, did Mr. Eriksen                  13:55

12    measure Antarctica's channel widths?                               13:55

13         A.    I don't know what he did.            Like I said, I've 13:55

14    never had contact with him.                                        13:55

15         Q.    Okay.                                                   13:55

16         A.    And I'll also mention I don't know that the             13:55

17    device I got is representative.             I mean, you know,      13:55

18    there is manufacturing variations.              So, you know,      13:55

19    this is one sample.       Why did they have the sample;            13:55

20    maybe it was a reject they happened to have lying                  13:55

21    around out of spec.       I just don't know.         You know, I   13:55

22    only know what I measured.                                         13:55

23         Q.    Right.     There is no way for you to say with          13:55

24    certainty that the channel widths of the Antarctica                13:56

25    device that was on sale prior to August 9, 2007 was                13:56

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1     1 millimeter or less; correct?                                      13:56

2                MS. BHATTACHARYYA:         Objection.      Calls for a   13:56

3     legal conclusion.       Mischaracterizes the record.                13:56

4     Mischaracterizes prior testimony.                                   13:56

5                THE WITNESS:       Yeah.    I would have no way of       13:56

6     knowing that.       I was given a device that I                     13:56

7     understood to be representative, and, you know, I                   13:56

8     measured it.                                                        13:56

9     BY MR. CHEN:                                                        13:56

10         Q.    Right.     Okay.    In your report you state             13:56

11    that:                                                               13:56

12               "A person of ordinary skill in the art                   13:56

13               would have known that the fins in a                      13:56

14               fluid heat exchanger should be disposed                  13:57

15               in such a way that they would form                       13:57

16               microchannels between adjacent fins."                    13:57

17               Correct?

18               (Clarification requested by Reporter.)

19               MR. CHEN:     "...between adjacent fins."

20               DEPOSITION REPORTER:          Thank you.

21               THE WITNESS:       Well, sure.       I mean, like I      13:57

22    say, microchannels had been known at that time for                  13:57

23    26 years and their benefits were well understood by                 13:57

24    then.                                                               13:57

25    / / /

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1     BY MR. CHEN:                                                        13:57

2          Q.    And you also state in your report that:                  13:57

3                "This is because microchannels have                      13:57

4                large surface area to volume ratios                      13:57

5                and provide a large heat transfer                        13:57

6                surface area per unit fluid flow                         13:57

7                volume as compared to macro channels                     13:57

8                or mini channels."                                       13:57

9                Is that right?                                           13:57

10         A.    Yeah.   I mean, it is correct.           There's         13:57

11    additional benefits that --                                         13:58

12         Q.    No, no, I'm asking about your report.                    13:58

13         A.    Yeah, that's what my report says, yeah.                  13:58

14         Q.    Okay.   And in your report, is that the only             13:58

15    opinion you're -- you offer for why a person of                     13:58

16    ordinary skill in the art would have implemented                    13:58

17    microchannels?                                                      13:58

18         A.    So in my Ph.D. thesis for sure I discussed               13:58

19    the higher heat transfer coefficient that you get.                  13:58

20    I can't recall whether that is specifically                         13:58

21    discussed in the report.        I -- it -- because it's a           13:58

22    subtler point.     But there is -- there is this                    13:58

23    twofold effect that it's getting more surface area                  13:59

24    and it's getting -- the narrower channels have                      13:59

25    higher heat transfer coefficients, and both are --                  13:59

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5

6                   I, DAVID TUCKERMAN, Ph.D., do hereby declare

7       under penalty of perjury that I have read the foregoing

8       transcript; that I have made corrections as appear

9       noted, in ink, initialed by me, or attached hereto; that

10      my testimony as contained herein, as corrected, is true

11      and correct.

12                  EXECUTED this ____ day of ___________________,

13      2022, at _________________________, _ _________________.

14                           (City)                       (State)

15

16

17

18                                    DAVID TUCKERMAN

19

20

21

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23

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1                   I, JANIS JENNINGS, CSR No. 3942, Certified

2       Shorthand Reporter, certify:

3                  That the foregoing proceedings were taken

4       before me at the time and place therein set forth, at

5       which time the witness was duly sworn by me;

6                     That the testimony of the witness, the

7       questions propounded, and all objections and statements

8       made at the time of the examination were recorded

9       stenographically by me and were thereafter transcribed;

10                    That the foregoing pages contain a full, true

11      and accurate record of all proceedings and testimony.

12                  Pursuant to F.R.C.P. 30(e)(2) before

13      completion of the proceedings, review of the transcript

14      [X] was [ ] was not requested.

15                    I further certify that I am not a relative or

16      employee of any attorney of the parties, nor financially

17      interested in the action.

18                  I declare under penalty of perjury under the

19      laws of California that the foregoing is true and

20      correct.

21                  Dated this 4th day of January, 2022.

22

23                          <%6044,Signature%>

24                          JANIS JENNINGS, CSR NO. 3942

25                          CLR, CCRR

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